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                                                      DOC #:        I J
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                         DATE FILED: 5/1 j J/I
                                             -x

SECURITIES AND EXCHANGE                           STIPULATION AND ORDER
COMMISSION,
                                                  10 Civ. 4270    (SHS)
                      Plaintiff,

                 - v. ­

KENNETH IRA STARR, STARR
INVESTMENT ADVISORS, LLC,           and
STARR & COMPANY, LLC,

                      Defendants,

DIANE PASSAGE and COLCAVE, LLC,

                      Relief Defendants.
                               - - - - - - -x

                 WHEREAS, on or about May 27,      2010,   a Complaint,    10 Civ.

4270     (SHS)    (the "Complaint"), was filed by the Securities and

Exchange Commission (the "Commission") alleging that defendants

Kenneth Ira Starr ("Starr"), Starr Investment Advisors, LLC

("SIA"), and Starr & Company, LLC ("Starrco" and,               together with

Starr and SIA,        the "Defendants") violated Sections 206(1)           and

206(2)     of the Investment Advisers Act of 1940, 15 U.S.C. § 80b­

6 (1),    (2)    (First Claim for Relief); and that SIA viola ted Section

206(4)     of the Investment Advisers Act of 1940, 15 U.S.C. § 80b­

6(4), and Rule 206(4)-2(a) (1)            of the Investment Advisers Act

Rules,     75 C.F.R. § 275.206 (4) -2 (a) (1)     (Second Claim for Relief);

                 WHEREAS,   the Complaint alleged,    inter alia,   that

between April 13 and April 16, 2010, Defendants transferred

approximately $7 million from the accounts of three SIA and
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Starrco clients, which was used to purchase a luxury Manhattan

apartment fo     Starr, without the authorization of the clients;

          WHEREAS, the Complaint sought, inter alia, an order

appoint    a           r for SIA, Starrco, and Co cave;

          WHEREAS, the         aint              inter alia, an order

restraining the Defendants and relief defendants Diane Passage

("Passage") and Colcave, LLC ("Colcave" and, t                r with

Passage, the "Relief Defendants")         from transferring, pledging,

encumbering, assigning, diss      ting, conceal         or otherwise

dispos     f   any assets, funds, or other              Y of, held by, or

under the control of Defendants and/or Relief Defendants;

          WHEREAS, on or about May 27, 2010, an Order to Show

Cause, Temporary Restraining Order and Order Freezing Assets and

Granting Other Relief (the "Restraining Order") was filed

order     inter alia, that the Defendants and Relief Defendants

and each of their financial and brokerage institutions, agents,

servants, employees, attorneys-in-fact, and those persons i

active concert or partic       ion with them who receive actual

notice of such order by personal service, facsimile service, or

otherwise, to hold and retain within their control, and otherwise

prevent, any withdrawal, transfer, p             , encumbrance,

assignment, diss       ion, concealment or other disposal of any

assets, funds,    or other property (including money, real or

personal property, securities, commodities, choses in action or

other property of any kind whatsoever)         of, held by,   or under the


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contro            Defendants       or Relief Defen              nts, whether held in

their names or for their direct or indire                       beneficial interes

wherever situated;

              WHEREAS, on or about June 1, 2010, an Order was entered

appoin ing Aurora Cassirer, Esq., of Troutman Sanders LLP (the

"Receiver U   )    as inte         itor of SIA,                 reo, and Co cave;

              WHEREAS, on       r about June 7,            010, an Order wa       entered

appoint           the Receive    as temporary receiver for SIA, Starrco,

and      leave;

              WHEREAS, on         about Ju             8, 2010, an Order wa

entered, inter alia,                nting the Receiver as receiver                 r SIA,

Starrco, and Colcave;

              WHEREAS, on or about June 10, 2010, an Indictment, 10

Cr.      0 (SAS)     (the "Indictment   U
                                            )   was returned by a grand jury

 i ting in the Southern District                     f New York,        ing the

defendant Kenneth Starr with twenty counts of wire fraud (Counts

One through Twenty)            n violation of Title 18, United             tates Code,

Section 1343; one count of money laundering in violation of Title

 8, United States Code, Section 195 (a)                   (J)   (Count Twenty-One);

      count of fraud            an investment advisor in vi              tion of Tit

  , United States Code, Section                     BOb-6 and BOb- 7 (Count

Twenty-Two); and one count of s curities fraud,                      in violation of

Title IS, United States Code, Sections 7Bj (b) and 78ff(a)                        (Count

TltJenty-Three) ;




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              WHEREAS, the Indictment contained a forfe ture

allega ion p                    notice      tha~,    as a   resul~    of the offenses

charged in the Indictment, the defendant shall fo                                      to the

Un ted States any and al               property        cons~ituting       or derived from

any                  obtained direc ly or            indirec~ly      as a resu              of   ~he


alleged wire, money             aunder         and secur ty fraud              0    fenses;

              WHEREAS, on             abou~                   10,     010,         S~arr    pled

guilty before the Honorab e Shira A. Scheindl n                            0       Counts Nine,

Twen               and Twen y-Two of                 Indictmen      pursuan          to a

               wi         the Uni       S~ates         torney's Office for the

Southern Distric             of New         k (the "U.S. Attorney's Off ce");

               WHEREAS, under the             erms of            plea agreement, Starr

admitted the forfeiture allegation in the                          ndictment and

to forfe t to                Uni~ed    States a_I        f Starr'         right, t tIe, and

interes       in    ~he    fol owing prope

               Any and all       , t i , and interest in the
               rea property and appurtenances known as 433
               Eas    4   S~ree, Unit IC, New York, New
               York,    0021, t     r with   1          ts
               and attachments thereto;

(the "Condominium");

                  WHEREAS, the U.           Attorney's Offi           filed a not ce of

pendency      wi~h    respect to             Condominium      ~o    pre     rve its "nterest

      rein;

                  WHEREAS, the        ega    descr            of     he Condominium is:

433 Eas       7      St       , Unit 1 , New Yo k, New York,                   recorded in

New York County, New                rK records as Lo               02 and Block 1469;


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            WHEREAS, the Condominium i                         held sole y in the                 of

Colcave;

            WHEREAS, Starr               s the s              member of Co cave;

            WHEREAS, on or about February 23, 20                              , Judge

Scheindlin entered            Consent                iminary Order of Forfeiture

    feiting a 1 of Starr's right,                    t    tIe an       interest in, among

other things,       the Condomin um,            to the United St tes for

disposit on in accordance with the law;

             WHEREAS, on          0     about            i1 5,     o   1, Judge Scheindlin

ent red a Consent Prel                    ry Order of Forfeiture, inter                     ia,

order         ~orf    i     re money       ~              t        nst Starr in the amount

o   $29,112,78 .69 and                orfeit         all of        t   rr's right,      title and

interest in,              funds          deposit          t Signature Bank, N.A., in a

accou~t    nu~ber    150 395923 (the "Colcave Account") held in

name of Colcave (the "Co cave Sized Funds");

             WHEREAS, the                 Condo~inium            Board   0   Managers     (the

"Board")     s the board of managers for the condominium association

for the Condominium;

             WHEREAS, since              t least              or about May 26,          010, Diane

Passage and her minor chi d have continued to                                ive in the

Condominium;

             WHEREAS, since at least on or about May 26, 2010, no

common              payments have been made to the Board relat                               to

the Condominium;




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             WHEREAS, on or about March 15, 2011, upon the

application of the Board, the Court issued an order to show cause

why the Receiver should not be ordered to pay fees due to the

Board relating to the Condominium;

             WHEREAS, as of May I,     2011, Colcave is approximately

$84,461.76 in arrears to the Board for common charges relating to

the Condominium, which sum does not include various late charges,

interest, or other fees or penalties that the Board contends are

owed;

             WHEREAS, the u.S. Attorney's Office wishes to release

$84,461.76 in United States currency (the "Funds")           from the

Colcave Seized Funds to the Board to pay the unpaid common

charges relating to the Condominium as of May 1, 2011, not

including any interest,      fees,   or penalties;

             WHEREAS, on May 12, 2011, Judge Scheindlin entered a

Stipulation And Order providing for the release of $84,461.76

from the Col cave Seized Funds to the Board to pay the value of

unpaid common charges relating to the Condominium as of May I,

2011;

             NOW, THEREFORE,    IT IS HEREBY STIPULATED, AGREED, AND

ORDERED, by and between the United States, by its attorney Preet

Bharara, United States Attorney for the Southern District of New

York, Michael D. Lockard, Assistant United States Attorney, of

counsel; the Commission, by its attorney Todd Daniel Brody, Esq.;

Colcave, LLC, by Aurora Cassirer, Esq., receiver for Colcave; and


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the   L~x   Condominium                      rs,       and th

attorney Roger Mar on, E          . , Todtman, Machamie, Spizz &
P.C.,   that:

                   The Restra n        Order       s hereby 1     f~ed       t   ~he


extent required to permit the transfer of $84,461.76                         rom the

Colcave Seized     F~nds   to the Lux Condominium Board of Managers,

which sum shall be            ied to the common charge            currently owed

 elating to t_he              n

              2.                  he        waive all    yj         to appeal or

to otherwise chal                 contest the validity        0          s

Stipulation and Order.

              3.     ch par       shall bear   i~s    own co t      and attorneys'

fees; provided, however, that this Stipulat                   and Order shall

not preclude the Receiver from applying to the Court for h r

reasonable fees      nd expenses, including counsel fees,                    incurred in

connection he        tho




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             4.     The s      re pages       thi   St   lation and Order

may be   exec~ted    in one or mo    counterpa ts, each of wh eh wi 1

be deemed an or       inal but a 1 of which together will      onstitute

one and the same ins rument.        Si       re pages may be     fax and

such sign          s shall be deemed as valid originals.

AGREED AND COKSENTED TO:

PREET BHARARA
Uni    S::  s Attorney fo the
Southern Dis iet     New York




      Assi             States At orney
      One   . Andrew'  Plaza
      New York, New York 0007
      ( 2) 63 -2   3

                [ADDITIONAL S GNATURES ON FOLLOWING PAGE]
SECURITIE      AND EXCHANGE COMMISSION


By:
      Todd Daniel Brody                                         DATE
        curities & E        Co:rmission (3 h'FC)
        Wo Id Finane    Center, Room 300
      New Yor ,NY 0281
      (21 ) -3 6 0080


COLCAVE, LLC


By:
      A~rora Cassirer, E q.                                     DATE
      Trou     & Sander LLP
       OS Lexi   on Avenue
      New   rk, NY 10 74-0700
      (21 ) 704 6249
      Receiver for   leave, LLC


                  :ADDITIONAL SIGNATURE ON FOLLOWING PAGE]


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             4.         The signature pages of this Stipulation and Order

may be executed in one or more counterparts, each of which will

be deemed an original but all of which together will constitute

one and the same instrument.          Signature pages nay be by fax and

such signatures shall be deemed as valid originals.

AGREED AND CONSENTED TO:

PREET BHARARA
United States Attorney for the
Southern District of New York


By:

       Assistant United States Attorney
       One St. Andrew's Plaza
       New York, New York 10007
       (212) 637-2193

            [ADDITIONAL SIGNATURES ON FOLLOWING PAGE]
SECURITIES AND EXCHANGE COM..MISSION
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             ~/            \,­

        /    "-/                                            c:
By:                                                        ~
                                                          ---T~~~------


       Securities & Exchange Co~mission (3 WFC)
       3 World Financial Center, Room 4300
       New York, NY 10281
       (212)-336-0080


COLCAVE, LLC


By:
       Aurora Cass rer,
       Troutman & Sanders LLP
       405 Lexington Avenue
       New York, NY 10174-0700
       (212) 704 6249
       Receiver for Colcave, LLC


                   [ADDITIONAL SIGNATURE ON FOLJ"OWING PAGEJ


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      LUX CONDOMINIUM BOARD OF MANAGERS


      By:       4J~ ___
              ~lon, Esq.                                           DATE
              Todtma~, Nachamie, spizz & Johns, P.C.
              425 Park Avenue, Fifth loor
              New York, New York 10022
              (212) 7 4-9400
              Attorneys for Lux Condominium Board of Managers

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      THE HONO ABLE        H. STEIN
      UNITED   ATES DISTRICT CUDGE




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